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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DOE CORPORATION 1, DOE
 CORPORATION 2, DOE CORPORATION 3,
 and DOE CORPORATION 4,
                                                         Civil Action No. 1:25-cv-1404
                       Plaintiffs,

          v.

 INTER-AMERICAN DEVELOPMENT BANK,


                       Defendant.


     PLAINTIFFS’ NOTICE REGARDING PENDING MOTION TO RECONSIDER

       Plaintiffs Doe Corporation 1, Doe Corporation 2, Doe Corporation 3, and Doe Corporation

4 (collectively, “Doe Corporations”), by and through undersigned counsel, respectfully submit this

Notice to provide the Court with an update concerning this action and to respectfully request a

prompt ruling on Plaintiffs’ Motion to Reconsider the May 14, 2025 Order Denying Plaintiffs’

Motion to Proceed Under Pseudonym, ECF No. 8 (the “Motion to Reconsider”).

       On May 8, 2025, Doe Corporations filed a Complaint against Defendant Inter-American

Bank (the “IDB”), ECF No. 1; a Motion to Proceed Under Pseudonym, ECF No. 2; and a Motion

for a Preliminary Injunction requesting an order immediately halting the IDB’s unlawful and

illegitimate sanctions proceedings against Doe Corporations, ECF No. 3. On May 14, the Court

issued an order denying Doe Corporations’ Motion to Proceed Under Pseudonym, ECF No. 6 (the

“May 14 Order”). Doe Corporations moved for reconsideration of the May 14 Order on May 19.

ECF No. 8. The Motion to Reconsider remains pending five weeks after it was filed.




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       Doe Corporations respectfully request a prompt ruling on their Motion to Reconsider. As

explained in their Motion for a Preliminary Injunction, Doe Corporations face ongoing and

imminent harm absent relief from this Court, including irreversible reputational damage, the

permanent loss of critical confidentiality protections, and forced participation in the IDB’s

illegitimate sanctions proceedings. ECF No. 3-1, at 31–42. And, indeed, the Court concluded that

Doe Corporations “have provided adequate evidence to support ‘their contention that public

disclosure that they are subject to an ongoing [IDB] investigation would likely cause them

debilitating reputational and financial hardship.” ECF No. 6, at 3. Doe Corporations are unable

to seek immediate relief for these ongoing and imminent harms unless and until the Court grants

the Motion to Reconsider—or, if necessary, Doe Corporations successfully appeal a denial order.

       Doe Corporations’ need for prompt relief is all the more pressing in light of the IDB’s

continuing improper disclosures of information concerning the pending sanctions proceedings. As

Doe Corporations previously explained, ECF No. 3-1, at 32–33, and the Court credited, ECF No.

6, at 4, earlier this year a government agency abruptly barred a Doe Corporation subsidiary from

participating in a prominent regional event on account of “integrity concerns” that the IDB raised

about Doe Corporations. Following the filing of the Motion to Reconsider, Doe Corporations

learned of yet another unauthorized disclosure: the IDB remarked to one or more third parties that

Doe Corporations are “guilty” based on the investigation conducted to date. The pattern is clear.

Absent prompt relief from this Court (or, if necessary, the D.C. Circuit), the IDB’s improper

disclosures about the pending sanctions proceedings will continue to snowball, and the reputational

and financial harm to Doe Corporations will continue to compound.

       For all these reasons, Doe Corporations respectfully request that the Court promptly resolve

the Motion to Reconsider.



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Dated: June 23, 2025                    Respectfully submitted,


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                                        Corporation 2, Doe Corporation 3, and Doe
                                        Corporation 4




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